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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
______________________________________
                                       :
PREMIUM SPORTS INC.,                   :    CIVIL ACTION
                                       :
                   Plaintiff,          :
          v.                           :    No. 18-99
                                       :
DAMIEN GIVEN, ET AL.,                  :
                                       :
                   Defendants.         :
______________________________________:


                                           ORDER

       AND NOW, this 22nd day of August, 2018, upon consideration of “Plaintiff’s Motion for

Default Judgment” (Doc. No. 13) and Plaintiff’s supplemental letter dated August 2, 2018 (Doc.

No. 16), I find as follows:

FACTUAL AND PROCEDURAL BACKGROUND

   1. Plaintiff Premium Sports Inc. filed this lawsuit on January 8, 2018, in response to alleged

       violations of the Communications Act and Copyright Act by Defendant 4417 Main

       License LLC d/b/a Sona Pub & Kitchen and three individuals, Defendants Damien

       Given, Chris Flanagan, and Daniel R. Neducsin.

   2. Plaintiff filed an Amended Complaint on February 26, 2018, which alleges the following:

           -   Plaintiff holds the exclusive right to distribute a broadcast of the GAA Football
               All-Ireland Senior Championship Final: Dublin v. Mayo, September 17, 2017
               match (the “Broadcast”) to commercial establishments in the United States.
               Plaintiff also holds the exclusive right to publicly perform the Broadcast in the
               United States. (Am. Compl. ¶¶ 6-7, 37.)

           -   Plaintiff distributed the Broadcast to commercial establishments in Pennsylvania
               for a license fee. (Id. ¶ 21.)

           -   Defendants played the Broadcast for patrons of the Sona Pub & Kitchen without
               obtaining a license or paying Plaintiff the fee. (Id. ¶¶ 22-23, 30, 38-40.)


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         -   The individual Defendants were “officers, directors, shareholders and/or
             principals” of 4417 Main License LLC, were the “individuals with supervisory
             capacity” at the time of the alleged infringement, had “close control over the
             internal operating procedures” of the business, and “received a financial benefit
             from” the operation of the business. (Id. ¶¶ 12-13.)

  3. Plaintiff brings claims against all four Defendants for violating provisions of the

     Communications Act, 47 U.S.C. §§ 553(a), 605(a), and the Copyright Act, 17 U.S.C.

     § 501(b). (Id. ¶¶ 27, 34, 43.) Plaintiff seeks statutory damages under both Acts, as well as

     attorneys’ fees and costs of suit. (Id.)

  4. All Defendants were properly served with the Amended Complaint. Defendants Chris

     Flanagan and 4417 Main License LLC were served on February 9, 2018, and Defendants

     Damien Given and Daniel R. Neducsin were served on March 27, 2018. (Doc. Nos. 6, 7,

     9, and 10.)

  5. Defendants failed to plead or otherwise defend, and a default was entered on April 18,

     2018.

  6. Plaintiff now moves for a default judgment against all Defendants. Plaintiff seeks an

     aggregate of $33,560.50 against all Defendants jointly and severally. Of this figure,

     $15,000.00 represents damages for violation of the Communications Act, $15,000.00

     represents damages for violation of the Copyright Act, and $3,560.50 represents

     attorneys’ fees and costs of suit.

DISCUSSION

  7. When evaluating a motion for default judgment under Federal Rule of Civil Procedure

     55(b), a court should first consider whether default judgment is appropriate. Joe Hand

     Promotions, Inc. v. Yakubets, 3 F. Supp. 3d 261, 270-71 (E.D. Pa. 2014). The court must

     then assess whether the complaint states a cause of action with respect to those



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       defendants against whom judgment is sought. Id. Finally, the court must calculate

       damages using appropriate evidence, including, if necessary, by holding a hearing. Id.

   8. Because I find that Plaintiff has satisfied the above standard with respect to its claims

       under the Communications Act against all Defendants, I will grant the Motion in that

       respect and award damages based on the documents submitted thus far. However,

       because I find that the Amended Complaint does not state a cause of action under the

       Copyright Act, I will deny the Motion as to those claims.

Appropriateness of Default Judgment

   9. Three factors control whether a default judgment should be granted: (1) whether the

       plaintiff would be prejudiced by further delay, (2) whether the defendant appears to have

       a meritorious defense, and (3) whether the defendant’s delay is due to culpable conduct.

       Chamberlain v. Giampapa, 210 F.3d 154, 164 (3d Cir. 2000).

   10. Here, Plaintiff would be prejudiced by further delay because it would be unable to obtain

       compensation for violation of its intellectual property rights. A court may presume that an

       absent defendant who failed to answer has no meritorious defense. Yakubets, 3 F. Supp.

       3d at 271. Finally, Defendants’ failure to engage in the litigation despite being served is

       culpable conduct. Id. at 272. Accordingly, default judgment is appropriate.

Liability

   11. When evaluating liability on a motion for default judgment, the well-pleaded allegations

       in the complaint are deemed admitted. Id. at 270-71. A court need not, however, accept as

       true allegations that are no more than legal conclusions. Id. at 271 n.7; Ashcroft v. Iqbal,

       556 U.S. 662, 678 (2009) (“[A] complaint must contain sufficient factual matter,




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      accepted as true, to ‘state a claim for relief that is plausible on its face.’” (quoting Bell

      Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007))).

Liability of 4417 Main License LLC Under the Communications Act

   12. Plaintiff alleges that Defendant 4417 Main License LLC violated two provisions of the

      Communications Act: 47 U.S.C. § 605(a) (“Section 605”) and 47 U.S.C. § 553(a)

      (“Section 553”).

   13. Sections 553 and 605 prohibit intercepting or receiving broadcasts without authorization,

      with Section 553 applying to cable broadcasts and Section 605 governing satellite

      broadcasts. Yakubets, 3 F. Supp. 3d at 269-73. Both are strict liability offenses. Id. at

      275; J & J Sports Prods., Inc. v. LaRose, No. 2:15-cv-04445, 2018 WL 1784160, at *3

      (E.D. Pa. Apr. 12, 2018). A bar or restaurant violates one of these sections if it receives a

      broadcast over a covered medium and, without a license for redistribution, plays the

      broadcast for customers. J & J Sports Prods., Inc. v. TCOS Enterprises, Inc., No. 2:10-cv-

      07130, 2012 WL 124482, at *2 (E.D. Pa. Jan. 13, 2012); J & J Sports Prods., Inc. v. 4326

      Kurz, Ltd., No. 2:07-cv-03850, 2009 WL 1886124, at *6 (E.D. Pa. June 30, 2009). Any

      “person aggrieved” by a violation may sue for damages. See 47 U.S.C.

      §§ 553(c)(1), 605(e)(3)(A), 605(d)(6).

   14. Here, Plaintiff owned the exclusive right to distribute the Broadcast of the GAA game.

      (Am. Compl. ¶ 20.) It is undisputed that Defendant 4417 Main License LLC, through its

      agents or employees, played the Broadcast at the Sona Pub & Kitchen, but never obtained

      a license to do so. (Id. ¶ 22.) It is also undisputed that Defendant obtained the Broadcast

      from a cable transmission or, alternatively, from a satellite transmission. (Id. ¶¶ 23, 32.)




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       These facts, accepted as true, establish a violation of Section 553 or, alternatively, of

       Section 605.

   15. Plaintiff acknowledges that a defendant may be liable under only one section, not both.

       See Joe Hand Promotions, Inc. v. Yakubets, No. 2:12-cv-04583, 2013 WL 5224123, at *3

       n.4 (E.D. Pa. Sept. 17, 2013). Plaintiff prefers Section 605. There is split authority on

       whether a plaintiff may elect Section 605 against a defaulting defendant when it is

       unknown which section was in fact violated. Id. at *3. However, as Plaintiff seeks

       damages that would be appropriate under either section, the distinction is immaterial for

       purposes of this Motion.

   16. Accordingly, I find that Plaintiff has established that Defendant Main License LLC

       violated Section 553 or Section 605 and that Plaintiff is entitled to damages under one of

       these sections.

Liability of 4417 Main License LLC Under the Copyright Act

   17. Plaintiff also seeks to recover under 17 U.S.C. § 501(b) for violation of its copyright in

       the Broadcast.

   18. Section 501 allows an owner of an “exclusive right” under a copyright, including the

       right of public performance, to sue for infringement. 17 U.S.C. §§ 501(b), 106(4).

   19. A plaintiff seeking to recover under Section 501 must allege registration of the copyright,

       or an applicable exemption, as part of its prima facie case. See Greenberg v. Scholastic,

       Inc., No. 2:16-cv-06353, 2018 WL 1532850, at *2 (E.D. Pa. Mar. 28, 2018) (noting that

       this district generally follows the “registration approach,” in which an issued certificate

       of registration must be alleged in the complaint); DigitAlb, Sh.a v. Setplex, LLC, 284 F.




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       Supp. 3d 547, 555 (S.D.N.Y. 2018) (holding that a plaintiff claiming an exemption from

       registration must plead the exemption in the complaint).

    20. Plaintiff has not alleged that it registered its copyright or that it is exempt from

       registration. The Amended Complaint alleges only that Plaintiff submitted an application

       for registration to the Copyright Office. (Am. Compl. ¶ 36.) Plaintiff has therefore not

       established an entitlement to relief under the Copyright Act for purposes of this Motion.1

Liability of the Individual Defendants

    21. Plaintiff seeks to hold the three individual Defendants—Damien Given, Chris Flanagan,

       and Daniel R. Neducsin—jointly liable with the LLC for violating the Communications

       Act.

    22. There are two theories under which an individual may be jointly liable with a business

       under the Communications Act. First, any individual is personally liable for her own acts

       whether or not associated with a business. Yakubets, 3 F. Supp. 3d at 292. Second, an

       individual may be vicariously liable for a business’s infringement if the individual had a

       “right or ability to supervise or authorize the violative behavior” and a “direct financial

       interest” in the violation. Id. at 295-96. Actual supervision or knowledge is not required

       so long as the ability to supervise is present. Id. at 295. The financial interest must take

       the form of a causal link between the violation and the individual’s finances—that is, the

       individual must earn more money on account of the violation than she would have

       otherwise. Id. at 296.

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  I note that, were I to find the registration requirement satisfied, it would not significantly
increase the damages to which Plaintiff is entitled, because I agree with Premium Sports, Inc. v.
Mendes, No. 1:17-cv-01309, 2018 U.S. Dist. LEXIS 34768, at *24 (E.D.N.Y. Mar. 1, 2018),
recommendation adopted, 2018 U.S. Dist. LEXIS 44700 (E.D.N.Y. Mar. 16, 2018), that, while it
is appropriate to award damages under both Acts for the same conduct, damages should not
produce a double recovery for the same harm.
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      23. The three individuals are alleged to be “officers, directors, shareholders and/or

         principals” of the LLC, to have had “close control over the internal operating procedures

         and employment practices” of the LLC, to have had “supervisory capacity and control,”

         and to have received a financial benefit from the operation of the LLC on the day of the

         alleged violation. (Am. Compl. ¶¶ 12-15.) The individuals are alleged to have intercepted

         the Broadcast and to have advertised that it would be played at the Sona Pub & Kitchen.

         (Id. ¶¶ 17, 22-23.) These allegations raise a plausible inference that the individual

         Defendants had the ability to supervise the violation and received a financial benefit from

         it. See Yakubets, 3 F. Supp. 3d at 296-97. Accordingly, Plaintiff has established an

         entitlement to relief with respect to the individual Defendants as to its claims under the

         Communications Act.

Damages

      24. Unlike when assessing liability, when calculating damages in default judgment, a court

         should not assume the veracity of the allegations in the complaint. Comdyne I, Inc. v.

         Corbin, 908 F.2d 1142, 1149 (3d Cir. 1990). Rather, the party seeking damages must

         offer evidence showing the amount to which it is entitled. Id. The court may, if necessary,

         hold a hearing to measure damages, but may rely on documentary evidence if it

         determines that a hearing is not needed. Yakubets, 3 F. Supp. 3d at 271 n.8.

      25. Section 553 of the Communications Act provides plaintiffs the option of seeking actual

         or statutory damages. 47 U.S.C. § 553(c)(3)(A). In cases of willful violation, a court may,

         in its discretion, award enhanced damages above actual or statutory damages.

         § 553(c)(3)(B).2


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    Section 605 follows a similar damages scheme. See 47 U.S.C. § 605(e)(3).

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    26. Plaintiff seeks statutory damages and enhanced damages. Plaintiff requests $5,000.00 in

       statutory damages and $10,000.00 in enhanced damages.

Statutory Damages

    27. A court may award statutory damages for a violation of Section 553 of not less than

       $250.00 or more than $10,000.00, “as the court considers just.” 47 U.S.C.

       § 553(c)(3)(A)(ii).3 Statutory damages should approximate actual damages, which will

       usually be the license fee the defendant would have had to pay to receive the broadcast

       legally, plus any profits the defendant unjustly earned from its illegal interception.

       Yakubets, 3 F. Supp. 3d at 275-80.

    28. Based on documentation supplied by Plaintiff, I find that Defendant 4417 Main License

       LLC would have paid $6,000.00 for a set of fifty matches that included the Broadcast and

       that the Broadcast, being the championship match, accounted for fifty percent of that

       value. (Doc. No. 16.) Plaintiff has not offered evidence of Defendant 4417 Main License

       LLC’s profits. The full price of a fifty-match set would overvalue the loss caused by

       intercepting one match, but the fractional worth of the match itself would undervalue

       Plaintiff’s lost opportunity to market the matches as a set. I therefore find that an

       intermediate value of $4,000.00 is an appropriate measure of statutory damages, and will

       award this amount against Defendant 4417 Main License LLC.

Enhanced Damages

    29. Enhanced damages are appropriate if the violation was willful and for purposes of

       commercial advantage or private financial gain. Yakubets, 3 F. Supp. 3d at 282. The

       amount of enhanced damages should be a multiple of statutory damages sufficient to

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  Statutory damages under Section 605 may range from $1,000.00 to $10,000.00. 47 U.S.C.
§ 605(e)(3)(C)(ii).
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       deter future violations. Id. at 289-91. “A number of courts have used three as a baseline

       multiplier.” Id. at 291 n.48.

    30. Based on the affidavits and video that Plaintiff submitted with its Motion, I find that

       Plaintiff has established that Defendant 4417 Main License LLC violated Section 553 or

       605 willfully and for commercial advantage. Enhanced damages are therefore

       appropriate. Plaintiff’s evidence does not show that the violation was especially

       egregious or especially innocent. I will therefore follow those courts that use a multiplier

       of three for the ordinary willful violation by a commercial establishment. Accordingly,

       Plaintiff is entitled to $12,000.00 in enhanced damages against Defendant 4417 Main

       License LLC.

Attorneys’ Fees and Costs

    31. Plaintiff also seeks attorneys’ fees and costs under the Communications Act. In a Section

       553 claim, a court “may . . . direct the recovery of full costs, including awarding

       reasonable attorneys’ fees to an aggrieved party who prevails.” 47 U.S.C. § 553(c)(2).4

       Whether to award fees is within the discretion of the court. J & J Sports Prods., Inc. v.

       Smalls, No. 2:16-cv-04883, 2017 WL 4680612, at *3 (E.D. Pa. Oct. 18, 2017). Fees are

       frequently awarded against businesses that intentionally misuse cable broadcasts for

       financial benefit. E.g., Joe Hand Promotions, Inc. v. Waldron, No. 1:11-cv-00849, 2013

       WL 1007398, at *9 (D.N.J. Mar. 13, 2013); J & J Sports Prods., Inc. v. TCOS

       Enterprises, Inc., No. 2:10-cv-07130, 2012 WL 1361655, at *1-4 (E.D. Pa. Apr. 19,

       2012).




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 An award of fees and costs is mandatory under Section 605. 47 U.S.C. § 605(e)(3)(B)(iii).
Because I find that fees are appropriate under Section 553, this distinction is inconsequential.
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  32. When fees are awarded, their dollar value is calculated according to the lodestar method,

     which multiplies a reasonable number of hours expended by a reasonable hourly rate.

     Gen. Instrument Corp. v. Nu-Tek Elecs. & Mfg., 197 F.3d 83, 91-92 (3d Cir. 1999). The

     party seeking fees has the burden of establishing these numbers. M.S.R. Imps., Inc. v.

     R.E. Greenspan Co., 574 F. Supp. 31, 33 (E.D. Pa. 1983).

  33. Based on the affidavits submitted, I find that Defendant 4417 Main License LLC

     intentionally misappropriated the Broadcast for its own financial benefit and that an

     award of attorneys’ fees is appropriate. I have reviewed the hours and rates detailed in the

     affidavit of Plaintiff’s counsel and am satisfied that the fees are reasonable and that the

     litigation costs are appropriate. See Joe Hand Promotions, Inc. v. Singleton, No. 2:17-cv-

     13687, 2018 WL 3054683, at *3-4 (D.N.J. June 20, 2018) (awarding fees at similar rates

     in a Communications Act case). I therefore award Plaintiff the full amount of its fees and

     costs, $3,560.50, against Defendant 4417 Main License LLC.


     WHEREFORE, it is hereby ORDERED that Plaintiff’s Motion for Default Judgment

(Doc. No. 13) is GRANTED IN PART AND DENIED IN PART:

         -   Plaintiff’s Motion is GRANTED as to its claims under the Communications Act
             against all Defendants;

         -   Plaintiff’s Motion is GRANTED as to its request for attorneys’ fees and costs
             against all Defendants; and

         -   Plaintiff’s Motion is DENIED as to its claims under the Copyright Act against all
             Defendants.




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       It is further ORDERED that judgment is entered in favor of Plaintiff and against

Defendants 4417 Main License LLC, Damien Given, Chris Flanagan, and Daniel R. Neducsin,

jointly and severally, in the aggregate amount of $19,560.50, consisting of the following

amounts:

            -   $4,000.00 in statutory damages under 47 U.S.C. § 553(c)(3)(A)(ii);

            -   $12,000.00 in enhanced damages under 47 U.S.C. § 553(c)(3)(B); and

            -   $3,560.50 in attorneys’ fees and costs.

Until paid, the judgment shall accumulate interest at the legal rate allowed under 28 U.S.C.

§ 1961.


       The Clerk of Court shall mark this case as CLOSED.




                                                      BY THE COURT:


                                                      /s/ Mitchell S. Goldberg
                                                      ______________________________
                                                      MITCHELL S. GOLDBERG, J.




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